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1                          UNITED STATES DISTRICT COURT
2                       SOUTHERN DISTRICT OF CALIFORNIA
3    UNITED STATES OF AMERICA            ) No. 21-CR-988-JLS
                                         )
4                      Plaintiff,        ) ORDER CONTINUING MOTION
                                         ) HEARING/TRIAL SETTING
5        v.                              )
                                         )
6                                        )
     RICARDO RUMBO-MOJICA,               )
7                                        )
                       Defendant.        )
8                                        )
9         The United States of America and defendant RICARDO RUMBO-

10   MOJICA jointly move to continue the Motion Hearing set for May

11   21, 2021, at 1:30 p.m.     The parties also jointly move to exclude

12   time under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7).

13        For reasons stated in paragraph 3 of the joint motion,

14   incorporated by reference herein, the court finds the ends of

15   justice served by granting the requested continuance outweigh

16   the best interest of the public and the defendant in a speedy

17   trial.

18        IT IS ORDERED that the joint motion is granted. The Motion

19   Hearing shall be continued to June 25, 2021, at 1:30 p.m.

20        IT IS FURTHER ORDERED that the period of delay from the

21   filing of the joint motion until June 25, 2021 shall be excluded

22   in computing the time within which the trial must commence under

23   the Speedy Trial Act, 18 U.S.C. § 3161.

24        IT IS SO ORDERED.

25   Dated: May 12, 2021
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